                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


MICHAEL A. KOWALCZUK

               Plaintiff,                            Case No.: 2:19-cv-1230

vs.

SERGEANT ERIC GIESE, and
VILLAGE OF MOUNT PLEASANT

               Defendants.


                                  AMENDED COMPLAINT


       NOW COMES the above-named plaintiff, Michael A. Kowalczuk, by his attorneys,

Martin Law Office, S.C., and as and for his amended claims for relief against the above-named

defendants, alleges and shows to the Court as follows:

                                       Nature of the Case

       1.      This is a civil action, pursuant to 42 U.S.C. § 1983, for redress of the deprivation,

under color of law, of Michael A. Kowalczuk’s rights secured by the Fourth and Fourteenth

Amendments to the United States Constitution.

                                    Jurisdiction and Venue

       2.      This court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3).

       3.      Venue in the Eastern District of Wisconsin is proper under 28 U.S.C. 1391(b).




            Case 2:19-cv-01230-JPS Filed 10/09/19 Page 1 of 9 Document 11
                                                 Introduction

        4.       This amended complaint is intended to relate back to the date of the original

complaint under Rule 15(c)(1)(C) of the Federal Rules of Civil Procedure.1

        5.       This amended complaint is not intended to imply the invalidity of any conviction,

judgment, or sentence imposed against the plaintiff.

        6.       The allegations in this amended complaint are intended to conform to and

incorporate, by reference, squad camera video footage, taken September 3, 2013, which depicts

the factual basis of the plaintiff’s claims, as alleged herein.

                                                     Parties

        7.       That the plaintiff, Michael A. Kowalczuk, is an adult citizen and resident of the

State of Wisconsin, residing at 5826 Sunset Blvd., Mount Pleasant, Wisconsin 53406.

        8.       That the defendant, Village of Mount Pleasant, is a municipality duly

incorporated, organized, and existing under the laws of the State of Wisconsin; that the Mount

Pleasant Police Department is an agency of the Village of Mount Pleasant.

        9.       That the defendant, Eric J. Giese, is an adult resident of the State of Wisconsin;

that, at all times material hereto, Eric J. Giese was employed by the defendant, Village of Mount

Pleasant, as a police officer with the Mount Pleasant Police Department; that, at all times

material hereto, Eric J. Giese was acting within the scope of his employment and authority as a

Village of Mount Pleasant police officer; that the plaintiff sues Eric J. Giese in his individual and

official capacities.




1
  This amended complaint is filed in response to the defendants’ Motion to Dismiss, pursuant to 12(b)(6), which was
filed on September 18, 2019. (Dkt. 5, Def. Mot. to Dismiss, [of Record]). Pursuant to Rule 15(a)(1)(B) of the
Federal Rules of Civil Procedure, a party “may amend its pleading once, as a matter of course” within 21 days after
service of a motion under Rule 12(b).

                                                        2

             Case 2:19-cv-01230-JPS Filed 10/09/19 Page 2 of 9 Document 11
                                       General Allegations

        10.     That, at all times material hereto, the defendant Eric J. Giese acted under color of

state law.

        11.     That on September 3, 2013, at approximately 12:30 am, Michael A. Kowalczuk

(“Kowalczuk”) was operating his motor vehicle in the Village of Mount Pleasant; that

Kowalczuk was driving to the home that he shared with his parents.

        12.     That, upon information and belief, at approximately 12:30 am, the defendant, Eric

J. Giese (“Giese”) was operating a marked Village of Mount Pleasant squad car; that Giese

observed Kowalczuk’s vehicle turn onto 16th street, in the Village of Mount Pleasant, Wisconsin;

that Giese elected to follow Kowalczuk eastbound on 16th street.

        13.     That, at its intersection with South Emmersen Road, the speed limit for eastbound

traffic on South 16th Street reduces from thirty-five miles per hour to twenty-five miles per hour;

that, upon information and belief, the defendant, Giese, followed Kowalczuk eastbound on South

16th Street.

        14.     That Giese activated his squad lights after Kowalczuk passed South Emmerson

Road.

        15.     That, upon viewing Giese’s squad lights, Kowalczuk drove his vehicle to his

parents’ house at 5826 Sunset Boulevard, Mount Pleasant.

        16.     That Kowalczuk parked his vehicle in front of his parents’ home and slowly

opened the driver’s side door.

        17.     That, after stopping his squad car, Giese exited with his firearm aimed at

Kowalczuk; that Giese yelled the following instruction to Kowalczuk: “Stop! Get out of the car!

Stay in the car, right now!”



                                                 3

             Case 2:19-cv-01230-JPS Filed 10/09/19 Page 3 of 9 Document 11
       18.    That Giese’s instructions were contradictory; that Kowalczuk immediately

stopped all movement when he heard Giese yell “Stop!”

       19.    That Giese approached Kowalczuk with his firearm aimed at Kowalczuk.

       20.    That Giese yelled at Kowalczuk: “Show me your hands!”; that Kowalczuk put

both of his hands up and in view of Giese.

       21.    That within approximately one second of instructing Kowalczuk to show his

hands, Giese instructed Kowalczuk: “Stop the car!”; that Kowalczuk’s vehicle was already

stopped.

       22.    That within approximately one second of instructing Kowalczuk to stop the car,

Giese instructed Kowalczuk: “Get out of the car!”; that, simultaneously, Giese grabbed

Kowalczuk by Kowalczuk’s left arm and used physical force to remove Kowalczuk from the

vehicle.

       23.    That as Giese was removing Kowalczuk from the vehicle, Giese yelled at

Kowalczuk: “Get out of the car! Get on the ground”

       24.    That Kowalczuk was resistive and asked Giese: “What did I do, man?”

       25.    That in response to Kowalczuk’s question, Giese yelled: “Get on the ground!”;

that, simultaneously, Giese pulled Kowalczuk’s arm and used physical force to push Kowalczuk

to the pavement; that the force exerted Giese combined with Giese’s control of Kowalczuk’s left

arm caused Kowalczuk to turn and fall onto his backside.

       26.    That once Kowalczuk was on the ground, Giese continued to maintain physical

control of Kowalczuk by gripping Kowalczuk’s left arm; Giese again yelled at Kowalczuk: “Get

on the fucking ground!”; that, at the same time, Giese placed his other hand behind Kowalczuk’s




                                               4

           Case 2:19-cv-01230-JPS Filed 10/09/19 Page 4 of 9 Document 11
head and pushed Kowalczuk onto his right side; that Giese then placed his weight on top of

Kowalczuk.

        27.     That, as Giese was on top of Kowalczuk, Kowalczuk pleaded: “Let go, man.”

        28.     That Giese yelled at Kowalczuk “Put your hands behind your back! Do it now!

Put your hands behind your back and get on your stomach! Get on your stomach! put your hands

behind your back! Do it now!”

        29.     That Giese allowed Kowalczuk to position himself on his stomach with his hands

behind his back; that Giese yelled: “Put your hands behind your back, or you’re going to get

tased! (sic)”

        30.     That Kowalczuk put his hands behind his back, at which point Giese secured

Kowalczuk’s hands in handcuffs.

        31.     That Kowalczuk’s mother and father, Nancy Kowalczuk and Jeff Kowalczuk,

were inside of their home and observed Giese use force on Kowalczuk; that Nancy and Jeff

Kowalczuk exited their home; that Giese put his hand over his firearm and threatened Nancy and

Jeff Kowalczuk: “Stay back! Stay back.”

        32.     That Kowalczuk was extremely frightened by Giese; that Kowalczuk remained

handcuffed at all times; that Kowalczuk yelled: “Mom!”

        33.     That, contradictory to Giese’s instructions, Kowalczuk attempted to reposition

himself on the ground to be able to see his mother; that Giese again grabbed Kowalczuk; that

Jeff Kowalczuk yelled to Giese: “Hey, hey, hey!”; that Giese yelled at Jeff Kowalczuk to “Stay

back!”; that Nancy and Jeff Kowalczuk were frightened by the actions and demeanor of Giese.

        34.     That Kowalczuk did not stay on his stomach and lifted himself to a seated

position; that Giese tackled Kowalczuk back to the pavement, yelling: “Stay the fuck down!”;



                                               5

          Case 2:19-cv-01230-JPS Filed 10/09/19 Page 5 of 9 Document 11
that Kowalczuk kicked Giese; that, as Kowalczuk was on the ground, Giese punched Kowalczuk

in the face with his right hand.

       35.     That Giese got off of Kowalczuk and Kowalczuk stood up; that Giese yelled at

Kowalczuk: “stay back!”; that Kowalczuk then turned to face away from Giese to speak to his

mother; that, as Kowalczuk’s back was turned to Giese, Giese shot Kowalczuk with a taser; that

Kowalczuk fell to the pavement, striking his head; that Kowalczuk lost conscious.

       36.     That Kowalczuk regained consciousness approximately eleven seconds after

being tasered by Giese and falling to the ground; that Kowalczuk was confused and frightened

when he regained conscious and began to move; that the taser leads remained in Kowalczuk and

Giese again employed the taser to debilitate Kowalczuk.

                First Claim for Relief: Excessive Force – Against Eric J. Giese

       37.     Plaintiff realleges and incorporates herein by reference the allegations of the

preceding paragraphs.

       38.     The uses of force employed by Eric J. Giese in the course of arresting Michael A.

Kowalczuk, including, but not limited to, pulling Kowalczuk from his vehicle, pushing

Kowalczuk onto the ground, exerting physical pressure onto Kowalczuk on the ground,

handcuffing Kowalczuk, tackling Kowalczuk to the ground, attacking Kowalczuk, punching

Kowalczuk, and twice using a taser to debilitate Kowalczuk, were not objectively reasonable

under the Fourth Amendment to the United States Constitution.

       39.     The conduct alleged constituted unreasonable and excessive force and violated

Michael A. Kowalczuk’s right to be free from unreasonable seizures under the Fourth and

Fourteenth Amendments to the United States Constitution.




                                               6

          Case 2:19-cv-01230-JPS Filed 10/09/19 Page 6 of 9 Document 11
       40.     Defendant Eric J. Giese’s unreasonable and excessive use of force against

Michael A. Kowalczuk was a cause of the injuries sustained by Michael A. Kowalczuk,

including the violation of his constitutional rights, loss of liberty, past and future pain, suffering,

emotional distress, mental anguish, past and future medical expenses, disability, loss of

enjoyment of life and dignity, and other compensable injuries and damages, all to the damage of

Michael A. Kowalczuk in an amount to be determined at a trial of this matter.

       41.     Defendant Eric J. Giese acted with malice or in reckless disregard of Michael A.

Kowalczuk’s federally protected rights.

    Second Claim for Relief: Monell Claim against Defendant Village of Mount Pleasant
               (Policy, Practice, and/or Custom; Failure to Train and Supervise)

       42.     Plaintiff realleges and incorporates herein by reference the allegations of the

preceding paragraphs.

       43.     Upon information and belief, defendant Eric J. Giese acted within the written or

unwritten policies, practices, and/or customs of the Village of Mount Pleasant Police

Department, an agency of the defendant, Village of Mount Pleasant, when he employed

excessive force against Michael A. Kowalczuk and when he arrested Michael A. Kowalczuk

without probable caused, as alleged.

       44.     Upon information and belief, the defendant, Village of Mount Pleasant, failed to

adequately train and supervise its police officers, including Eric J. Giese, regarding the use of

force and probable cause for arrest.

       45.     Upon information and belief, in light of the foreseeable consequences due to the

failure to adequately train and supervise police officers as alleged, defendant Village of Mount

Pleasant was deliberately indifferent to the rights of Michael A. Kowalczuk and other persons in




                                                  7

          Case 2:19-cv-01230-JPS Filed 10/09/19 Page 7 of 9 Document 11
Mount Pleasant by failing to adequately train and supervise its police officers including Eric J.

Giese.

         46.    Upon information and belief, defendant Village of Mount Pleasant’s law

enforcement policies, practices, and/or customs and its failure to adequately train and supervise

its police officers, including Eric J. Giese, was a cause of the violations of Michael A.

Kowalczuk’s constitutional right to be free from unreasonable seizures, in the form of excessive

force, and false arrest.

         47.    Upon information and belief, defendant Village of Mount Pleasant’s law

enforcement policies, practices, and/or customs and its failure to adequately train and supervise

its police officers, including Eric J. Giese, caused Michael A. Kowalczuk to injuries, including

the violation of his constitutional rights, loss of liberty, past and future pain, suffering, emotional

distress, mental anguish, past and future medical expenses, disability, loss of enjoyment of life

and dignity, and other compensable injuries and damages, all to the damage of Michael A.

                 Third Claim for Relief: Punitive Damages against Eric J. Giese

         48.    Plaintiff realleges and incorporates herein by reference the allegations of the

preceding paragraphs.

         49.    That upon information and belief, at all times material hereto, the defendant, Eric

J. Giese, acted with intentional disregard of the rights of the plaintiff, Michael A. Kowalczuk, in

such a manner as to subject Eric J. Giese to punitive damages in an amount to be determined at a

trial of this matter.

         WHEREFORE, the plaintiff demands judgment against defendants, Village of Mount

Pleasant and Michael A. Kowalczuk, as follows:




                                                  8

           Case 2:19-cv-01230-JPS Filed 10/09/19 Page 8 of 9 Document 11
            A.      declaring that the defendant, Eric J. Giese violated the plaintiff, Michael A.

Kowalczuk’s constitutional rights by using excessive force against him and by falsely arresting

him; that the defendant, Village of Mount Pleasant, has liability for Eric J. Giese’s actions, as

alleged;

            B.      for compensatory damages against defendants, Village of Mount Pleasant, and

Eric J. Giese, jointly and severally, in an amount to be determined at trial;

            C.      for punitive damages against defendant, Eric J. Giese, in an amount to be proved

at trial;

            D.      for plaintiff’s attorneys’ fees, pursuant to 42 U.S.C. § 1988

            E.      for such further and additional relief as this Court may deem equitable and just.

            PLEASE TAKE NOTICE THAT THE PLAINTIFF DEMANDS A TRIAL IN THE

ABOVE-ENTITLED ACTION.


            Dated: 10/9/2019                      MARTIN LAW OFFICE, S.C.
                                                  Attorney for Plaintiff(s)


                                                  Electronically Signed by Drew J. DeVinney

                                                  ____________________________________
                                                  Drew J. De Vinney
                                                  State Bar No. 01088576

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                                                      9

                 Case 2:19-cv-01230-JPS Filed 10/09/19 Page 9 of 9 Document 11
